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The Honorable James C. Francis

United States Magistrate Judge for the N`i _ § _r'i _"". l- li i . §§
Southern District ofNew Yorl< § =`4"" w L.id D R\`___ ED

United States Courthouse _

500 Pearl Street
New York, NY 10007-1312

Re: UMB Bank, N.A. v. Sanoji, Case No. 15 Civ. 8725 (GBD) (JCF)
Dear l\/lagistrate Judge Francis:

We and Kleinberg, Kaplan, Wolff & Cohen, P.C. (“KKWC”) write on behalf of twenty-
three non-party current and former holders of contingent value rights (“CVRS”) who have been
subpoenaed by defendant Sanofl in connection with the-referenced action (collectively, the
“Subpoena Recipierlts”).l We write in response to Dei`endant Sanoli’s June 3(), 20]? letter (ECF
No. l 13) and to join in the letter request by Plaintii`f UMB Bank, N.A. (“Plaintifi” or the
“Trustee”) that the Court quash Sanofi’s non-party subpoenas (the “Subpoenas”) and enter a
protective order. (ECF No. lll).

First, for the reasons set forth in Plaintist June 19, 2017 letter and July 5, 2017 reply
letter (ECF No. l 15), the Subpoena Recipients join in Plaintiff"s request that the Court quash the
Subpoenas and enter a protective order. The discovery Sanot`i seeks is inappropriate and unduly
burdensome to the non-party Subpoena Recipients. The Subpoenas call for, among other things,
sensitive, proprietary information regarding the Subpoena Recipients’ general investment

 

l The following Subpoena Recipients are represented by the undersigned and/or KKWC:
Chimney Rock lnvestments, LLC; CSS, LLC; ELS Advisory Corporation; Elliott Management
Corporation; Elliott lnternational, LP; Foxhill Opportunity Fund, LP; Halis Family Foundation;
The Liverpool Limited Partnership; Lorin Capital Master Fund, LP; Mason Capital Management
LLC; Pandora Select Partners, LP; PBB Investments l, LLC; Rangeley Capital Partners, LP;
Stonehill lnstitutional Partners, LP; Stonehill Master Fund Limited; Tortus Capital Management,
LLC; Tyndall Management, LLC; Tyndall Partners, LP; Whitebox Advisors LLC; Whitebox
Asymmetric Partners, LP; Whitebox GT Fund, LP; Whitebox lnstitutional Partners, LP; and
Whitebox Multi-Strategy Partners, LP. The Subpoena Recipients include Holders who are
signatories to the Funding Agreement, Holders who are not signatories and former Holders.
Sanof`i’s statement that the subset of CVR Holders who entered into the Funding Agreement with
the Trustee are “all hedge funds” (ECF No. 113 at 3) is incorrect, and also irrelevant

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strategies and their specific investment intentions with respect to the CVRs, all of which are
wholly unrelated to the matters at issue in this action.

Second, contrary to the implication in Sanofi’s counsel’s letter, the Subpoena Recipients
have not agreed to produce documents in response to the Subpoenas. The Subpoena Recipients
only obtained an extension of time to July 14, 2017 to object or otherwise respond to the
Subpoenas. In that connection, they stated only that to the extent the production of documents is
appropriate and/or possible, in the case of certain clients, there would be an attempt to begin
production by the end of July, and in the case of other clients, production would be made with
appropriate expedition. To be clear, there was no agreement or promise that any Subpoena
Recipient would produce any documents in this action. Indeed, counsel for the Subpoena
Recipients obtained extensions of time to respond to the Subpoenas shortly after being engaged
in this matter and prior to the filing of Plaintiff’s letter requesting permission to move to quash
and for a protective order. As further reflected in the Plaintiff‘s June 19th and July 5th Letters,
the requested discovery is wholly inappropriate and designed to harass and burden the Subpoena
Recipients. The motion to quash and for a protective order, therefore, should be granted.

Third, pursuant to Federal Rule of Civil Procedure 45(d)(1), Defendant is obligated to
“take reasonable steps to avoid imposing undue burden or expense on a person subject to the
subpoena.” Here the burden and expense of discovery on the Subpoena Recipients is particularly
disproportionate to any legitimate need for such discovery in light ol" the substantial amount of
documents Plaintiff has already produced in response to many of the same or similar requests.
Defendant generally describes the Subpoenas as seeking documents “regarding the initiation of
this action, the CVRs and the relevant CVR Agreement, specific communications between CVR
Holders and other persons, basic background documents such as organizational charts and
investment strategies, and, for those who are signatories, documents relating to the Funding
Agreement.” (ECF No. 113 at 6.) Notwithstanding that many of the requests seek categories of
documents that are wholly irrelevant to this action or otherwise highly confidential and
proprietary, it is our understanding that any such non-privileged documents relating to
communications with the Trustee concerning this action have already been produced by and/or
sought from the Trustee (or the predecessor trustee, American Stock Transfer & Trust Company,
LLC (“AST”)). Thus, we respectfully submit that Defendant’s second “bite at the apple”
through the Subpoenas is inappropriate and a transparent attempt to unduly burden the Subpoena
Recipients, whom contrary to Defendant’s unsupported assertion (ECF No. 113 at 5, 6 n.8.),
have never given any instructions or directions to the Trustee (or AST) regarding the conduct of
this litigation.

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Finally, we respectfully request that the Court grant Plaintiff’s request to extend the time
for the Subpoena Recipients to provide written responses and objections to the Subpoenas until
fifteen days after the Court rules on Plaintiff’s motion.

Respectfully submitted,

Steven Paradise
RICHARDS KIBBE & ORBE LLP

 

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cc: Counsel of Record.

